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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 15-23947-CIV-LENARD/GOODMAN


   DAVID LOUIS BERKOWER and
   SZNOL BERKOWER,

         Plaintiffs,

   vs.

   USAA CASUALTY INSURANCE COMPANY,

         Defendant.
   ______________________________/

   DEFENDANT’S RENEWED MOTION TO STRIKE PLAINTIFFS’ EXPERT WITNESS
    OR, ALTERNATIVELY, MOTION FOR EXTENSION OF TIME FOR DEFENDANT
   TO COMPLETE EXPERT DISCOVERY AND FOR DEFENDANT TO FILE MOTIONS
            TO EXCLUDE OR LIMIT PROPOSED EXPERT TESTIMONY

          Defendant, USAA CASUALTY INSURANCE COMPANY (hereinafter “USAA CIC”),

   by and through the undersigned counsel, pursuant to Federal Rules of Civil Procedure 26(a) and

   37 and the Court’s Scheduling Order [D.E. 39], hereby files its Renewed Motion to Strike

   Plaintiffs’ Expert Witness or, Alternatively, Motion for Extension of Time for Defendant to

   Complete Expert Discovery and for Defendant to File Motions to Exclude or Limit Proposed

   Expert Testimony and Incorporated Memorandum of Law:

          1.      This lawsuit arises out of a homeowners’ insurance claim presented by Plaintiffs,

   David Louis Berkower and Eve Sznol Berkower (hereinafter “Plaintiffs”) under an insurance

   policy issued by USAA CIC to the Plaintiffs involving damage allegedly caused by a plumbing

   backup on or about November 10, 2014, at the insured property in Hollywood, Florida.




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          2.       Plaintiffs claim that on November 10, 2014, the master bathroom toilet at the

   insured property backed up and caused water to overflow the toilet bowl, staining the travertine

   flooring and the wooden door frames at the entrance of the bathroom.

          3.       Pursuant to the Court’s Order Adopting Joint Scheduling Report and Establishing

   Pretrial Deadlines [D.E. 39] (hereinafter “Scheduling Order”), the deadline for Plaintiffs’ Rule

   26(a)(2) expert disclosure was August 16, 2016.

          4.       The deadline for USAA CIC’s Rule 26(a)(2) expert disclosure was August 30,

   2016, and USAA CIC timely and adequately complied with the deadline, identifying Donald

   Dunn of My Plumbing Co., a licensed plumbing expert, and Dick Fortune of Rugbeaters of

   Florida, Inc., a flooring and property restoration professional, and providing copies of their

   signed reports setting out their opinions in detail in full compliance with Rule 26(a)(2). See

   [D.E. 127-1].

          5.       In fact, Plaintiffs have known the substance of USAA CIC’s expert opinions since

   as early as June 7, 2016 as USAA CIC supplemented its Rule 26 disclosure with copies of Mr.

   Dunn and Mr. Fortune’s initial reports containing their preliminary opinions and photographs

   taken during the May 23, 2016 re-inspection. Id.

          6.       However, it was not until August 25, 2016, nine days after the expiration of

   Plaintiffs’ Rule 26(a)(2) expert disclosure deadline and without even requesting an

   extension of the deadline, that Plaintiffs served their “Expert Disclosures and Report”

   identifying Mr. Kenneth Hecht of KDH Architecture, Inc. as Plaintiffs’ expert witness

   (hereinafter “Preliminary Report”) and providing nothing more than vague, conclusory,

   preliminary “opinions.” See [D.E. 98-2]. Moreover, it appears that Mr. Hecht had not even

   inspected the property before preparing and signing his Preliminary Report as his supplemental



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   report served on November 11, 2016 [see D.E. 121-1] indicates that he inspected the property on

   November 9, 2016, 85 days after Plaintiffs’ expert disclosure deadline, 48 days after the

   close of discovery, 23 days after the close of expert discovery and 8 days after the summary

   judgment motion deadline. See [D.E. 39].

          7.     Accordingly, USAA CIC filed its initial Motion to Strike Plaintiffs’ Expert

   Witness on September 1, 2016 based on the untimeliness of Plaintiffs’ expert disclosure and the

   complete inadequacy of the disclosure which failed in its entirety to comply with the

   requirements of Rule 26(a)(2). See [D.E. 98].

          8.     USAA CIC also filed a Motion to Modify Scheduling Order to Extend Deadline

   for Defendant to Complete Expert Discovery and for Defendant to File Motions to Exclude or

   Limit Proposed Expert Testimony (“USAA CIC’s Motion for Extension of Time”) [D.E. 103], in

   an abundance of caution in order to allow USAA CIC ample time to coordinate and conduct the

   deposition of Mr. Hecht and file any motions deemed appropriate, if necessary, in the event the

   Court were to deny USAA CIC’s Motion to Strike Plaintiffs’ Expert Witness.

          9.     On November 4, 2016, the Court denied USAA CIC’s Motion to Strike Plaintiffs’

   Expert Witness [see D.E. 115] and granted USAA CIC’s Motion for Extension of Time [see D.E.

   116], finding Plaintiffs’ expert disclosure to be “overly conclusory, vague and significantly

   inadequate” and requiring Plaintiffs to provide “a supplemental, more-precise, more-detailed

   expert report from Ken Hecht by November 11, 2016.” See [D.E. 116] (emphasis added).

          10.    The Court’s Order put Plaintiffs “on notice that Mr. Hecht’s supplemental expert

   report will be subject to an order striking it if it does not adequately address and resolve the

   concerns flagged in USAA’s motion to strike.” Id.




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           11.     On November 11, 2016, Plaintiffs served a Supplemental Rule 26 Expert

   Disclosures and Report (hereinafter “Supplemental Report”) [see D.E. 121] which is still

   significantly inadequate as it is vague, nebulous, overly conclusory, lacks detail, fails to state the

   basis and reasons for Mr. Hecht’s conclusory opinions, improperly provides legal conclusions on

   topics which are not even relevant in this breach of contract lawsuit, raises new issues (yet

   again) 1 for the very first time in this case, without any basis or support, improperly agrees with

   third parties’ estimates and “opinions” and otherwise fails to resolve the concerns flagged in

   USAA CIC’s Motion to Strike.

           12.     For example, Mr. Hecht states in his Supplemental Report that he “agree(s) with

   the Scope of Work and the Pricing enumerated in Stellar Public Adjusting Services estimate”

   and states, in a conclusory fashion, that “the work listed needs to be performed to properly repair

   the subject home to its pre-loss condition.” See [D.E. 121-1]. It is not only improper to “agree”

   with a third party’s opinion/estimate, particularly in this matter where Stellar Public Adjusting

   Services, LLC’s (“Stellar”) corporate representative could not even identify who prepared either

   of the two Stellar estimates, 2 but Mr. Hecht also does not identify which of the two Stellar


   1
     Mr. Hecht’s Preliminary Report also raised an issue not previously raised by Plaintiffs or their agents as
   to the possibility that the structural foundation of the subject property was compromised by the loss,
   without any basis or support of any kind for this “possibility,” and it is unclear based on Mr. Hecht’s
   Supplemental Report whether Mr. Hecht is still of this “opinion” after inspecting the property on
   November 9, 2016 (on what appears to be his very first time inspecting the property, 85 days after
   Plaintiffs’ expert disclosure deadline and only after a Motion to Strike Plaintiffs’ Expert and an Order
   requiring Plaintiffs to provide a more detailed expert report) as it is not addressed in Mr. Hecht’s
   Supplemental Report or in any of the three estimates (Stellar’s December 11, 2014 estimate, Stellar’s
   February 22, 2016 estimate and Norman Vespi’s November 29, 2014 estimate) which Mr. Hecht “agrees”
   with, as stated in his Preliminary Report and Supplemental Report. See [D.E. 98-2]; [D.E. 121-1].
   2
     Plaintiffs and Stellar produced an estimate purportedly generated by Stellar dated December 11, 2014 in
   the amount of $245,436.50 and an estimate purportedly generated by Stellar dated February 22, 2016 in
   the amount of $347,671.90. Stellar’s corporate representative, Rami Boaziz, could not even identify the
   person who prepared the two estimates, let alone explain why two different estimates were submitted and
   how they were prepared, prejudicing USAA CIC’s ability to conduct a meaningful deposition as to the
   estimates. See [D.E. 109-s, p. 53, ln. 9-19; p. 116, ln. 25-p. 118, ln. 25]. Thus, the two Stellar estimates

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   estimates (identified by Mr. Hecht in the very same Supplemental Report [D.E. 121-1, p. 2, ¶’s

   3-4]) he is “agreeing” with. Mr. Hecht’s preliminary report also states that he “agrees” with

   independent adjuster Norman Vespi’s estimate dated November 28, 2014 in the amount of

   $103,179.64 and “an appropriate valuation of damages in this matter is somewhere in between

   the estimates prepared by [Mr. Vespi] and Stellar,” leaving USAA CIC in a position where it is

   forced to depose Mr. Hecht to even determine which of these three estimates he “agrees” with

   and what his actual opinion is as to the valuation of claimed damages. See [D.E. 121-1]; [D.E.

   98-2].

            13.    Moreover, the two Stellar estimates are over 40 pages each and have a

   $102,235.40 difference in valuation, and Mr. Hecht’s Supplemental Report completely fails to

   explain how Mr. Hecht determined that the work listed needs to be performed, as stated,

   including but not limited to whether any measurements were even taken of the property or

   whether investigation as to the grade and cost of the property’s finishes took place, and also fails

   to explain how Mr. Hecht determined what he deems to be the “pre-loss condition” of the

   property. See [D.E. 121-1]. USAA CIC should not be forced to take Mr. Hecht’s deposition to

   determine how, if at all, he arrived at the overly conclusive opinion as to the work needed to

   “properly” repair the property to its “pre-loss condition.”

            14.    Similarly, Mr. Hecht states in his Supplemental Report that he “agree(s) the

   Travertine flooring tile needs to be replaced” and interjects, for the very first time and two

   months after the close of discovery, a conclusory opinion as to category 3 water penetrating the

   “interior of the material as well as the inaccessible area beneath it” without stating the basis or




   cannot be used or relied upon by Plaintiffs and cannot come into evidence, yet Mr. Hecht attempts to rely
   upon these estimates.

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   reasoning for this overly-conclusive opinion including whether any testing was performed to

   confirm the presence of “category 3 water” in or underneath the tile. See [D.E. 121-1, p. 3].

           15.     Based on Plaintiffs’ expert disclosure, USAA CIC is unable to determine the basis

   for Mr. Hecht’s conclusory opinion as to category 3 water penetrating the flooring, forcing

   USAA CIC to depose Mr. Hecht to determine how he arrived at this opinion and prejudicing

   USAA CIC’s defense of the claim as it was denied the opportunity to flush out this issue through

   discovery and denied the opportunity to determine, depending on Mr. Hecht’s testimony,

   whether to retain and disclose an additional expert witness qualified to opine on the issue and, if

   appropriate, disclose a rebuttal expert, both of which would need to request and arrange for a re-

   inspection of the property in order to render their opinions and comply with expert disclosure

   requirements.

           16.     In addition, Mr. Hecht states for the first time in his Supplemental Report that

   increased costs may be incurred during construction due to “the need to provide temporary

   and/or permanent supporting structural systems to comply with the Florida Building Code when

   the slab/foundation work is performed.” Id. This opinion is not only speculative (and Mr.

   Hecht, a general contractor, should know with absolute certainty whether any increased costs

   would be incurred to comply with the Florida Building Code), but it is again offered without any

   basis or support and in contradiction to Plaintiffs’ position in this case which is that they only

   seek compensation for the alleged ensuing water damage to the property. 3 See [D.E. 111, ¶ 35].

   Clearly, there would be no need for “slab/foundation” work to be performed in order to repair the

   alleged ensuing water damage to the interior of the property and, once again, USAA CIC would


   3
     Mr. Hecht’s reliance upon one or both of Stellar’s estimates having a $102,235.40 difference in
   valuation also contradicts Plaintiffs’ position in this case as the estimates scope for the cost of plumbing
   access (through the concrete slab) and repair and are therefore not limited to alleged ensuing water
   damage.

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   be forced to depose Mr. Hecht, without having the benefit of a Rule 26(a)(2) compliant expert

   report in order to prepare for an effective and meaningful deposition, to determine the basis for

   Mr. Hecht’s speculative opinion as to increased costs which might be incurred and whether or

   not Plaintiffs even seek to recover benefits for the cost to access and repair the below-slab

   plumbing lines, contrary to their position in this matter and two months after the close of

   discovery.

          17.     Further, Mr. Hecht’s Supplemental Report improperly provides a legal conclusion

   as to whether the subject policy provides coverage for the loss which is an issue of contract

   construction to be determined by the Court based on its interpretation of the policy language, as

   applied to the record evidence, and is not a topic which Mr. Hecht is qualified to opine,

   particularly when there are no ambiguities in the insurance policy, as is the case in the instant

   matter. See U.S. Fire Ins. Co. v. Meridian of Palm Beach Condominium Ass’n, Inc., 700 So.2d

   161, 162 (Fla. 4th DCA 1997) (citing Acceleration Nat’l Serv. Corp. v. Brickell Fin. Servs. Motor

   Club, Inc., 541 So.2d 738 (Fla. 3d DCA), rev. denied 548 So.2d 662 (1989)); Rossi v. Brown,

   581 So.2d 615 (Fla. 5th DCA 1991).

          18.     Finally, Mr. Hecht’s Supplemental Report provides an improper, irrelevant and

   conclusory opinion that this claim “was not handled appropriately by the insurer.” See [D.E.

   121-1, p. 3]. Not only is this opinion provided, yet again, without any basis or support, but it

   also involves an issue relating to allegations of bad faith claims handling which is completely

   irrelevant in a first party breach of contract action as a prior determination as to liability and the

   amount of damages is necessary to state a bad faith claim under Florida law. See Order on

   Defendant’s Motion to Dismiss Counts II, III, and IV of Plaintiffs’ Amended Complaint [D.E.

   99]; see also Notice of Agreement to Abate Count III of Plaintiffs’ Amended Complaint [D.E.



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   28]; see also Blanchard v. State Farm Mut. Auto. Ins. Co., 575 So.2d 1289, 1291 (Fla. 1991);

   State Farm Fla. Ins. Co. v. Seville Place Condo. Ass’n, Inc., 74 So.3d 105, 108 (Fla. 3d DCA

   2011).

            19.   As stated above, USAA CIC would be prejudiced if it were required to depose

   Mr. Hecht without the benefit of a Rule 26(a)(2) compliant expert disclosure and report, and it

   would also be an unnecessary expenditure of USAA CIC’s resources to conduct a costly

   deposition of Mr. Hecht if he were ultimately stricken as a witness in this matter.

            20.   If the Court ultimately denies this Motion USAA CIC would also be prejudiced if

   it were not afforded the opportunity to depose Mr. Hecht to, at the very least, determine what his

   opinions are before trial and to determine whether a Daubert motion, or a motion to exclude or

   limit Mr. Hecht’s testimony, is appropriate

            21.   Thus, if the Court is not inclined to grant the relief requested in this Motion and

   Mr. Hecht were permitted to offer opinions in this matter, USAA CIC would need sufficient time

   to depose Mr. Hecht, consult with its experts, potentially and, if appropriate, retain a rebuttal

   expert as to new issues raised by Mr. Hecht for the very first time, including but not limited to

   the issue of “category 3 water” penetrating the tile, as well as time to request and arrange for

   these experts to re-inspect the property, to allow these experts sufficient time to prepare their

   Rule 26(a)(2) compliant reports, and to comply with expert disclosure requirements.

            22.   Accordingly, without waiver of its position herein as to USAA CIC’s request for

   entry of an Order striking Kenneth Hecht as an expert witness in this matter and in the alternative

   in the event the Court denies this Motion, USAA CIC respectfully requests entry of an Order

   extending USAA CIC’s deadline to complete expert discovery and to file any motions to exclude

   or limit proposed expert testimony and for leave to disclose a rebuttal expert if necessary.



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          23.     Neither undue delay, prejudice, bad faith, nor dilatory motives play any part in

   USAA CIC’s alternative request for an extension of time to complete expert discovery and to file

   any motions to exclude or limit proposed expert testimony, rather, USAA CIC is attempting to

   preserve its right to fully and fairly defend this action and to attempt to limit the prejudice caused

   if the Court does not strike Mr. Hecht.




                                      MEMORANDUM OF LAW

          Federal Rule of Civil Procedure 26(a)(2) governs the procedure for disclosing expert

   witnesses retained to provide expert testimony at trial and for disclosing expert reports. Pursuant

   to Rule 26(a)(2), an expert witness disclosure must be accompanied by a written report, which

   must be prepared and signed by the witness retained to provide expert testimony and which must

   include the following: “(i) a complete statement of all opinions the witness will express and the

   basis and reasons for them; (ii) the facts or data considered by the witness in forming them; [and]

   (iii) any exhibits that will be used to summarize or support them …” Fed. R. Civ. P. 26(a)(2)(B)

   (emphasis added).

          “An expert report must be complete to the point where ‘opposing counsel is not forced to

   depose an expert in order to avoid ambush at trial; and moreover the report must be sufficiently

   complete so as to shorten or decrease the need for expert depositions and thus to conserve

   resources.’” Frasca v. NCL (Bahamas) Ltd., No. 12-20662-CIV, 2014 WL 695413, at *1 (S.D.

   Fla. Feb. 24, 2014) (Magistrate, J. Goodman) (quoting Dyett v. N. Broward Hosp. Dist., No. 03–

   60804, 2004 WL 5320630, at *1 (S.D. Fla. Jan. 21, 2004) (granting motion to strike expert

   witness because, among other reasons, counsel's summary was an inadequate substitute for the



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   required report).   The Dyett Court stated that “expert reports must not be sketchy, vague or

   preliminary in nature” and found that the expert summary provided by counsel “fail[ed]

   miserably to satisfy the requirements” of Rule 26 as it was “entirely devoid of any opinion and

   the basis and reasons supporting such opinion” and was therefore inadequate. Dyett, 2004 WL

   5320630, at *1; see also United States v. Marder, 1:13-CV-24503-KMM, 2016 WL 2897407, at

   *3 (S.D. Fla. May 18, 2016) (holding the expert disclosure requirements are “intended to provide

   opposing parties reasonable opportunity to prepare for effective cross-examination and perhaps

   arrange for expert testimony from other witnesses.”) (citation omitted).

          Mr. Hecht’s Preliminary Report and Supplemental Report fail miserably to satisfy the

   requirements of Rule 26, even after Plaintiffs’ were put on explicit notice that Mr. Hecht’s

   supplemental expert report would be stricken if it did not adequately address and resolve the

   concerns flagged in USAA’s motion to strike, as the Supplemental Report is entirely devoid of

   the basis and reasons supporting Mr. Hecht’s vague and conclusory opinions, as noted above.

   USAA CIC should not be forced to depose Mr. Hecht to determine the basis and reasons for his

   conclusory opinions in order to avoid ambush at trial, and USAA CIC should be provided a

   reasonable opportunity to prepare for effective cross-examination at trial, based solely on the

   contents of Plaintiffs’ expert disclosure, and to arrange for expert testimony from other witnesses

   if deemed appropriate. Without knowing the basis for Mr. Hecht’s opinion or even which of the

   three estimates he “agrees” with and why, it is impossible to prepare for an effective cross-

   examination of Mr. Hecht and to arrange for expert rebuttal testimony.

          “Federal Rule of Civil Procedure 37(c)(1) provides for sanctions that can be imposed if a

   party does not comply with the Rule 26(a)(2) disclosure requirements.” Warner v. Ventures

   Health Care of Gainesville, Inc., No. 5:00–CV–308–OC–10–GRJ, 2001 WL 36098008, at *1



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   (M.D.Fla. Aug.1, 2001). Rule 37(c)(1) provides that “[i]f a party fails to provide information or

   identify a witness as required by Rule 26(a) or (e), the party is not allowed to use that

   information or witness to supply evidence on a motion, at a hearing, or at a trial, unless the

   failure was substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1). “[T]he sanction of

   exclusion is automatic and mandatory unless the sanctioned party can show that its violation of

   Rule 26(a) was either justified or harmless.” Frasca, 2014 WL 695413, at *4 (quoting Dyett,

   2004 WL 5320630, at *2). Indeed, “[b]ecause the expert witness discovery rules are designed to

   allow both sides in a case to prepare their cases adequately and to prevent surprise, compliance

   with the requirements of Rule 26 is not merely aspirational.” United States v. Twenty-Nine Pre-

   Columbian & Colonial Artifacts from Peru, 13-21697-CIV, 2015 WL 457860, at *1 (S.D. Fla.

   2015) (quoting Reese v. Herbert, 527 F.3d 1253, 1266 (11th Cir.2008)). In applying Rule

   37(c)(1) to a Rule 26(a) violation, the Frasca Court noted:

          Given these rules, courts do not hesitate to strike experts when adequate reports
          have not been timely provided, and appellate courts regularly affirm orders
          excluding experts under these scenarios. See, e.g., Reese v. Herbert, 527 F.3d
          1253, 1266 (11th Cir.2008) (affirming district court's exclusion of an expert's
          affidavit); Managed Care Solutions, Inc. v. Essent Healthcare, Inc., No. 09–
          60351–CIV, 2010 WL 1837724 (S.D.Fla. May 3, 2010) (granting defendant's
          motion to strike expert witnesses and precluding them from testifying); United
          States v. Marder, 1:13-CV-24503-KMM, 2016 WL 2897407, at *4 (S.D. Fla.
          2016) (granting plaintiff’s motion to strike expert and expert’s report where
          defendants “only provided a cursory expert report” numbering three pages and
          undermined plaintiff's ability to prepare for trial).

   Frasca, 2014 WL 695413, at *4.

          Once the Court finds that an expert disclosure is deficient or untimely, such as the expert

   disclosure in this case which is both deficient and untimely, the Court would then consider

   whether the failure to disclose was substantially justified or harmless.       Warner, 2001 WL

   36098008, at *2. “Substantial justification requires justification to a degree that could satisfy a



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   reasonable person that parties could differ as to whether the party was required to comply with

   the disclosure request.” Id. at 1. There can be no doubt in this case that Plaintiffs understood

   that they were to comply with their expert disclosure requirements, pursuant to Rule 26(a)(2), no

   later than August 16, 2016 as provided in the Court’s Scheduling Order [D.E. 39] and that they

   were also on explicit notice from the Court that Mr. Hecht’s supplemental expert report would

   be stricken if it did not adequately address and resolve the concerns flagged in USAA’s motion

   to strike. See [D.E. 116]. There can also be no doubt that Plaintiffs had months to retain an

   expert to inspect their own property and investigate in order to prepare a report containing all of

   the information and documentation required by Rule 26(a)(2), but they nonetheless failed to

   timely comply with their expert disclosure deadline and then failed not once, but twice, to

   provide a Rule 26 compliant expert disclosure. In fact, Mr. Hecht did not even bother to inspect

   the property until November 9, 2016, 85 days after Plaintiffs’ expert disclosure deadline and

   two months after the close of discovery and only after a Motion to Strike Plaintiffs’ Expert and

   an Order requiring Plaintiffs to provide a more detailed expert report, illustrating Plaintiffs’

   pattern of delay, gamesmanship and manipulation of the discovery process.

          In deciding whether to exclude or strike an expert witness, the Court generally considers

   the following four factors: “(1) the importance of the excluded testimony; (2) the explanation of

   the party for its failure to comply with the required disclosure; (3) the potential prejudice that

   would arise from allowing the testimony; and (4) the availability of a continuance to cure such

   prejudice.” Frasca, 2014 WL 695413, at *1 (quoting Warner, 2001 WL 36098008, at *1).

   USAA CIC has been severely prejudiced by Plaintiffs’ untimely and inadequate disclosure and

   would be further prejudiced if Mr. Hecht were permitted to testify at trial as USAA CIC has

   timely and adequately complied with its expert disclosure requirements, in compliance with the



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   Court’s Scheduling Order and after the Court’s denial of its timely request for a 15-day extension

   to provide its expert disclosure [see D.E. 95], and USAA CIC would be prejudiced in its ability

   to take the deposition as the Supplemental Report fails to even provide the information necessary

   for USAA CIC to conduct a meaningful deposition. Further, USAA CIC would be prejudiced if

   Plaintiffs were permitted yet another chance at this stage in the litigation to amend its expert

   disclosure in an attempt to comply with Rule 26(a)(2) as it would be denied the opportunity to

   conduct additional discovery within the deadlines prescribed by the Court as to the new issues

   identified in Mr. Hecht’s Supplemental Report and any testimony obtained during his deposition

   to determine whether it is appropriate or necessary to retain additional experts to rebut Mr.

   Hecht’s opinions.

           Throughout this litigation, Plaintiffs have thumbed their noses at the Scheduling Order

   deadlines, their discovery obligations and the Federal and local rules which compounds and

   contributes to the prejudice suffered by USAA CIC as a result of Plaintiffs’ untimely and wholly

   inadequate expert disclosure.        The Court should not permit the Plaintiffs to benefit from

   Plaintiffs’ gamesmanship and manipulation of the discovery process and should, thus, enter an

   Order striking Plaintiffs’ expert witness and an Order excluding the testimony of Mr. Kenneth

   Hecht at the trial of this matter.

                         CERTIFICATE OF GOOD FAITH CONFERENCE
           Pursuant to Local Rule 7.1(a)(3), the undersigned hereby certifies that counsel for the

   movant has made reasonable efforts to confer with Plaintiffs’ counsel in a good faith effort to

   resolve the issues raised in this Motion by conferring with attorney, Britt DeGennaro of Perry &

   Neblett, P.A., on November 23, 2016 by telephone. During the telephone conference, the

   undersigned outlined the specific inadequacies concerning Mr. Hecht’s Supplemental Report and

   advised that the issues could only be resolved by way of agreement to strike Mr. Hecht as an

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   expert witness in this matter, and Mr. DeGennaro expressly authorized the undersigned to

   represent that we had conferred and that Plaintiffs were opposed to the relief sought. By

   subsequent correspondence dated November 23, 2016, Mr. DeGennaro requested the opportunity

   to review an outline of USAA CIC’s position so as to consider whether USAA CIC’s concerns

   could be remedied, but the undersigned advised that such concerns could not be remedied due to

   the prejudice sustained by USAA CIC.

          WHEREFORE, Defendant, USAA Casualty Insurance Company, respectfully requests

   entry of an Order Striking Plaintiffs’ Expert Witness and excluding the testimony of Mr.

   Kenneth Hecht at the trial of this matter or, alternatively, entry of an Order Extending the

   Deadline for Defendant to Complete Expert Discovery and for Defendant to File any Motions to

   Exclude or Limit Proposed Expert Testimony, and for such other relief as this Court deems

   necessary and just.

                                                     Respectfully submitted,

                                                     SIMON, REED & SALAZAR, P.A.


                                                     /s/ Jennifer V. Ortega
                                                     MICHAEL SIMON
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                                 CERTIFICATE OF SERVICE

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          I HEREBY CERTIFY that a true and correct copy of the foregoing has been served

   electronically with the Clerk of Court using CM/ECF on this 30th day of November, 2016.



                                         By: /s/ Jennifer V. Ortega




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